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 6                       IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9    Arizona Yage Assembly, et al.,                  No. CV-20-02373-PHX-DJH
10                  Plaintiffs,                       ORDER
11    v.
12    William Barr, et al.,
13                  Defendants.
14
15          Before the Court is Defendants’ Motion for Status Conference (Doc. 297). This
16   case was recently reassigned to this Court. (Doc. 296). Defendants’ Motion outlines
17   several outstanding discovery issues between the parties. The Court finds that a status
18   conference would aid in resolution of those issues. The Court also finds that an expedited
19   response to the substantive arguments made in Defendants’ Motion is warranted.
20          Accordingly,
21          IT IS ORDERED that Plaintiffs shall respond to the substance of Defendants’
22   Motion on or before April 15, 2025. The response shall abide by the Local Rules regarding
23   page limits. No reply will be allowed.
24   ///
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 1          IT IS FURTHER ORDERED setting a Status Conference for April 16, 2025 at
 2   3:00 p.m. in Courtroom 605 of the Sandra Day O’Connor United States Courthouse at 401
 3   W. Washington Street in Phoenix, Arizona 85003. All counsel shall appear in person.
 4   Requests to appear virtually will only be considered upon substantial justification showing
 5   why an in-person appearance is not possible.
 6          Dated this 8th day of April, 2025.
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 9                                               Honorable Diane J. Humetewa
10                                               United States District Judge

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